Case 18-35295   Doc 17-2 Filed 06/04/19 Entered 06/04/19 19:10:11   Desc Exhibit
                   2 - Letter Terminating License Page 1 of 3




                              EXHIBIT 2




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                         2 - Letter Terminating License Page 2 of 3



         The Law Office of Christopher P. Ryan, P.C.
                          Christopher P. Ryan, Attorney at Law

                                                                      Jesse J. Baggott, Paralegal
Phone: (309) 637-8020                                                          245 NE Perry Ave.
Fax : (309) 637-5433                                                        Peoria, Illinois 61603
E-Mail : cpryan @c pryanlaw .co m                                     Web : W\vw .cpryanlav\ .com

                                         October 3, 2018

Jessica B. Fairchild
Fairchild Law Offices , LLC
100 S. Saunders Rd ., Suite 150
Lake Forest, IL 60045

       Re: Termination of License Agreement with VitaHEAT Medical, LLC

Dear Ms. Fairchild:

       Please be advised that I represent William Haas and ThinHeat, LLC regarding the
Exclusive License Agreement of patenting information with VitaHEAT Medical , LLC.

        For some time, Mr. Haas has raised the failure of VitaHEAT Medical, LLC to protect his
patents covered under the Licensing Agreement. These include a contract with 3M Corporation
concerning the License, which was only recently provided to my client and my client did not
have input on. We have been advised that the agreement with 3M has been terminated , but it has
been brought to your attention that 3M is now attempting to obtain a competitive patent in
violation of the License. VitaHEAT Medical , LLC ' s response to this has been, "it doesn ' t
matter".

        Additionally, a company known as GSI has been advertising its ability to print
conductive ink on circuits and supply the medical field . This company was utilized by
VitaHEA T Medical, LLC for some of the initial testing of products, and the owner of that
company is believed to be connected to one of the Board of Directors. Again , when this issue
was raised, VitaHEAT Medical , LLC has chosen not to take any action to shut down this
subsidiary corporation or ensure that this corporation and any other suppliers do not illegally use
the licensed applications outside of the scope of the Exclusive License Agreement.

        Finally, it has become clear over time that the company is effectively insolvent. This
triggers Paragraph 8.3 of the Termination Provisions of the Exclusive License Agreement. All of
the conversations over the past few weeks have been related to a bankruptcy filing , which would
allow the immediate termination of the License Agreement by my client. We have been very
recently advised that a shift has been made to some type of auction of assets , including the
License Agreement. This is a proceeding involving liquidation, or insolvency, where the
Licensee is effectively ceasing or suspending doing business . We would also suggest that an
Case 18-35295        Doc 17-2 Filed 06/04/19 Entered 06/04/19 19:10:11                    Desc Exhibit
                        2 - Letter Terminating License Page 3 of 3



 auction of this type is a conveyance or assignment for the benefit of its cred itors, which again is
 a triggering mechanism under Paragraph 8.3.

          For these reasons, and others, William Haas, individually and on behalf of Thin Heat,
 LLC, hereb y immediately revokes its License Agreement with VitaHEAT Medical, LLC. We
 insist that no sale of the assets of VitaHEAT Medical, LLC state or imply that VitaHEAT
 Medical, LLC has the rights to these products or manufacturing techniques and does not purport
 to sell the contents of the License Agreement to a third party as part of these liquidation
 proceedings.

         We also insist on immediate payment of all outstanding licensing fees and accrued
 royalty payments, as well as any Board of Director fees due and owing to my client.


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CPR/jjb
CC: Client
